           Case 1:15-vv-00749-UNJ Document 34 Filed 03/25/16 Page 1 of 2




     In the United States Court of Federal Claims
                                    OFFICE OF SPECIAL MASTERS
                                             No. 15-749V
                                         Filed: March 4, 2016

* * * * * * * * * * * * * *                            *
GARY BONDI,                                            *
                                                       *
                  Petitioner,                          *
                                                       *
v.                                                     *        Joint Stipulation on Damages; Influenza
                                                       *        Vaccination; Guillain-Barré Syndrome.
SECRETARY OF HEALTH                                    *
AND HUMAN SERVICES,                                    *
                                                       *
                  Respondent.                          *
                                                       *
* * * * * * * * * * * * * *                            *

John R. Howie, Jr., Howie Law, P.C., Dallas, TX, for petitioner.
Gordon E. Shemin, United States Department of Justice, Washington, DC, for respondent.

                                DECISION ON JOINT STIPULATION1

Roth, Special Master:

        Gary Bondi [“petitioner”] filed a petition for compensation under the National Vaccine
Injury Compensation Program2 on July 17, 2015. Petitioner alleges that he developed Guillain-
Barré Syndrome [“GBS”] as a result of an influenza [“flu”] on September 26, 2013. See
Stipulation, filed March 4, 2016, at ¶¶ 1-4. Respondent denies that the flu immunizations caused
petitioner’s injury and/or any other injury or his current condition. Stipulation at ¶ 6.

         Nevertheless, the parties have agreed to settle the case. On March 4, 2016, the parties
filed a joint stipulation, attached hereto as Appendix A, agreeing to settle this case and
describing the settlement terms.

1
  Because this unpublished decision contains a reasoned explanation for the action in this case, I intend to post this
decision on the United States Court of Federal Claims' website, in accordance with the E-Government Act of 2002,
codified as amended at 44 U.S.C. § 3501 note (2012). In accordance with Vaccine Rule 18(b), a party has 14 days
to identify and move to delete medical or other information, that satisfies the criteria in 42 U.S.C. § 300aa-
12(d)(4)(B). Further, consistent with the rule requirement, a motion for redaction must include a proposed redacted
decision. If, upon review, I agree that the identified material fits within the requirements of that provision, I will
delete such material from public access.

2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease of
citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa (2012).


                                                           1
           Case 1:15-vv-00749-UNJ Document 34 Filed 03/25/16 Page 2 of 2




Respondent agrees to issue the following payments:

        (1) A lump sum of $265,000.00 in the form of a check payable to petitioner. This
            amount represents compensation for all damages that would be available under
            § 300aa-15(a).

Stipulation at ¶ 8.

       I adopt the parties’ stipulation attached hereto, and award compensation in the amount
and on the terms set forth therein. The clerk of the court is directed to enter judgment in
accordance with this decision.3

IT IS SO ORDERED.

                                   s/ Mindy Michaels Roth
                                   Mindy Michaels Roth
                                   Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party filing a notice renouncing the
right to seek review.
                                                         2
